  Case 19-30998          Doc 84     Filed 03/27/20 Entered 03/27/20 10:22:37           Desc Main
                                      Document     Page 1 of 2




                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS
                                     (Western Division)


                                                      )
In re:                                                )               Chapter 11
                                                      )
         GKS Corporation,                             )               Case No. 19-30998-EDK
                                                      )
                Debtor                                )
                                                      )


         ORDER AUTHORIZING RETENTION AND EMPLOYMENT OF BROKER

         Upon consideration of the Debtor’s Application for Order Authorizing Retention and

Employment of Broker (the “Application”) filed by GKS Corporation (the “Debtor”); and after

due deliberation and sufficient cause appearing,

         THE COURT FINDS AND CONCLUDES THAT:

         A.     This Court has jurisdiction over this case under 28 U.S.C. § 1334(b).

         B.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         C.     Due and adequate notice has been given to all parties entitled thereto, and no

other or further notice is necessary or required.

         D.     This Court has reviewed the Application and the Declaration of David Kliewer

and has considered the representations regarding the relief requested therein.

         E.     The relief requested in the Application is necessary and in the best interests of the

Debtor, its estate and creditors.

         THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

THAT:
  Case 19-30998        Doc 84     Filed 03/27/20 Entered 03/27/20 10:22:37            Desc Main
                                    Document     Page 2 of 2




       1.      The Application is granted.

       2.      Pursuant to Section 327(a) of the Bankruptcy Code, the Debtor is hereby

authorized and empowered to employ Cushman & Wakefield (“Broker”) as its broker in this

Chapter 11 case for the purpose of marketing the Debtor’s senior-living facility to potential

investors, effective as of the date of the Application.

       3.      The Broker shall be compensated in accordance with the procedures set forth in

Sections 330 and 331 of the Bankruptcy Code, the applicable Federal Rules of Bankruptcy

Procedure, the rules of this Court, and such other procedures as have been or may be fixed by

order of this Court.

       4.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.




Dated: ________                                           __________________________________
                                                          United States Bankruptcy Judge
